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                            THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO



     AIDA COLON-HERNANDEZ
     for Oscar Castrodad,
           Plaintiff,

          v.
                                                                   Civil No. 17-1456 (ADC)
     COMMISSIONER OF SOCIAL
     SECURITY,

          Defendant.



                                         OPINION AND ORDER 1

    I.   Procedural History 2

         Castrodad filed an application for disability benefits (“SSA case”) on November 9, 2010,

before the Social Security Administration (“SSA”) based on his alleged disability due to high

blood pressure, various cerebral strokes in 2009 and 2010, gout on both feet, and stress. The SSA

denied Castrodad’s application initially and upon reconsideration. Plaintiff filed a request for a

hearing, which the SSA granted. An Adminisrtrative Law Judge (“ALJ”) held an evidentiary

hearing in San Juan, Puerto Rico, on July 18, 2012, in which Castrodad, a medical expert and a




1
  On September 28, 2018, the Court entered an Order, ECF No. 26, fully adopting U.S. Magistrate Bruce J.
McGiverin’s Report and Recommendation (“the R&R”) recommending that the Court affirm the Commissioner of
Social Security’s (“the Commissioner”). See ECF Nos. 24, 26. The Court’s Opinion in support of its Order is contained
herein.
2
  The Court draws the procedural history summarized herein from pertinent sections of plaintiff’s memorandum
of law, the Administrative Law Judges’ decisions, the Magistrate Judge’s R&R, and other portions of the
administrative record (“transcript” or “Tr.”). ECF Nos. 18, 24; Tr. at 19-33, 103-118, 757-759.
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vocational expert testified. On October 4, 2012, the ALJ issued a written decision finding that

Castrodad was disabled since October 4, 2010, the date when he suffered the stroke that required

emergency hospitalization.

       In 2013, the U.S. Department of Justice and the SSA’s Office of the Inspector General

conducted a criminal investigation about Social Security fraud in Puerto Rico. As a result of the

same, various physicians and others were criminally charged and indicted, including Samuel

Torres-Crespo (“Torres”), a non-attorney representative in Castrodad’s SSA case. Torres pled

guilty for having made “false statements or other misrepresentations to [the] SSA in claimants’

applications for benefits.” Tr. at 19. Since Torres had provided evidence in Castrodad’s

proceedings upon which the ALJ had relied in finding that Castrodad was disabled, on February

16, 2016, the SSA notified Castrodad that upon reviewing his case, and without considering the

evidence presented by Torres, “[t]he prior decision in your case that you are disabled may not

be supported. By law, SSA must redetermine your case, which means that we will again decide

whether you were disabled as of August 10, 2012, the date you were originally awarded

benefits.” Id. at 20.

       Plaintiff timely filed a request for party substitution on behalf of Castrodad, who had died

on January 15, 2016, of pneumonia. The SSA assigned the case to a different ALJ, who held a

video hearing on July 8, 2016, in which plaintiff and an impartial vocational expert testified.

According to the ALJ, in adjudicating the case, he disregarded the evidence provided by Torres,
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but “considered all remaining evidence that relates to the period on or before the date the

beneficiary was originally awarded benefit.” Id. at 2. On September 13, 2016, the ALJ issued a

written decision finding that in the relevant period—from Castrodad’s filing for SSA benefits on

October 4, 2010, until the granting of the same on October 12, 2012—Castrodad was not disabled

under SSA standards. Plaintiff opportunely appealed the ALJ’s decision, the SSA Appeals

Council denied her request for review, and plaintiff timely filed the instant complaint. The Court

referred the case to U.S. Magistrate Judge Bruce J. McGiverin (“Magistrate Judge”) for the

issuance of an R&R, the parties filed legal memoranda, the Magistrate Judge issued his R&R,

and plaintiff timely filed an objection. ECF Nos. 18, 23, 24, 25.

II.    Standard of Review

       A district court may refer pending civil actions or proceedings to a magistrate judge for a

report and recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Civ. P. 72(b); Local Civ. R. 72(a).

The court is free to accept, reject, or modify, in whole or in part, the findings or recommendations

by the magistrate judge. 28 U.S.C. § 636(b)(1); see Templeman v. Chris Craft Corp., 770 F.2d 245, 247

(1st Cir. 1985); Alamo-Rodríguez v. Pfizer Pharm., Inc., 286 F. Supp.2d 144, 146 (D.P.R. 2003). A

party is entitled to a de novo review of “those portions of the report . . . to which specific objection

is made.” Sylva v. Culebra Dive Shop, 389 F. Supp.2d 189, 191-92 (D.P.R. 2005) (citing United States

v. Raddatz, 447 U.S. 667 (1980)).
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        However, a plaintiff’s objections to an R&R “are not to be construed as a second

 opportunity to present the arguments already considered by the Magistrate Judge.” Betancourt

 v. Ace Ins. Co. of Puerto Rico, 313 F. Supp.2d 32, 34 (D.P.R. 2004). As held in this District,

        “If the magistrate system is to be effective, and if profligate wasting of judicial
        resources is to be avoided, the district court should be spared the chore of
        traversing ground already plowed by the magistrate except in those areas where
        counsel, consistent with the [Federal Rule of Civil Procedure], can in good
        conscience complain to the district judge that an objection to a particular finding
        or recommendation is well grounded in fact and is warranted by existing law or a
        good faith argument for the extension, modification or reversal of existing law.”

 Id. (quoting Sackall v. Heckler, 104 F.R.D. 401, 402-403 (D.R.I. 1984)). Accordingly, absent a proper

 objection, the Court “needs only satisfy itself that there is no plain error on the face of the record”

 in order to adopt the magistrate judge’s findings. López-Mulero v. Vélez-Colón, 490 F. Supp.2d 214,

 217-218 (D.P.R. 2007). “[A] party’s failure to assert a specific objection to a report and

 recommendation irretrievably waives any right to review by the district court and the court of

 appeals.” Santiago v. Canon U.S.A., Inc., 138 F.3d 1, 4 (1st Cir. 1998).

III.    Discussion

        Plaintiff asserts in her objection to the R&R that the Magistrate Judge erred in affirming

 the Commissioner’s finding of not disabled regarding Castrodad. ECF No. 25. Specifically,

 plaintiff avers that in determining Castrodad’s Residual Functional Capacity (“RFC”), the ALJ

 “repeadetly substituted sound medical opinions for his own interpretations of the medical

 evidence and raw medical data,” in violation of applicable legal requirements. Id. at 4, 5-8.
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Plaintiff also contends that the ALJ misapplied leading case law in his analysis and

determinations as to Castrodad’s capability to work. Id. at 3-4.

       A review of plaintiff’s objection to the Magistrate Judge’s R&R reveals that it is a rehash

of the aforementioned arguments already expounded in plaintiff’s memorandum of law in

support of her complaint against the Commissioner. See ECF Nos. 18 at 11-19, 25 at 3-9. Thus,

plaintiff has waived a right to de novo review as to her objection to the R&R, which consequently

is subject to clear-error review only. See Betancourt, 313 F. Supp.2d at 34. Pursuant to that

standard and upon reviewing the R&R in light of the case’s record, the Court holds that the

Magistrate Judge’s findings of fact and law are correct. Nonetheless, in an abundance of caution,

below is the Court’s de novo review of plaintiff’s objection to the R&R. To avoid needless

repetition, the Court hereby adopts and wholly incorporates by reference the Magistrate Judge’s

summary of legal standards and analysis of the case at hand, as contained in the R&R. ECF No.

24. Those standards and analysis are highlighted below as deemed pertinent by the Court in its

discussion of plaintiff’s objection to the R&R.

   1- The ALJ’s RFC Assessment Regarding Castrodad is based on Substantial Medical
      Evidence on the Record as a Whole.

       The denial of social security disability benefits must be upheld provided that the

Commissioner of Social Security (“the Commissioner”) has committed no legal or factual errors

in evaluating a claim. Manso–Pizarro v. Sec. of Health & Human Services, 76 F.3d 15, 16 (1st Cir.

1996). An ALJ’s findings of fact are upheld if supported by substantial evidence in the record as
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a whole, which means “more than a mere scintilla” or “such relevant evidence as a reasonable

mind might accept as adequate to support a conclusion.” See Astralis Condo. Ass'n v. Sec., U.S.

Dep't of Housing & Urban Dev., 620 F.3d 62, 66 (1st Cir. 2010) (internal quotation marks omitted)

(involving review of a final order of the Secretary of Housing and Urban Development). The

court “must affirm the [Commissioner’s] resolution, even if the record arguably could justify a

different conclusion, so long as it is supported by substantial evidence.” Rodríguez-Pagán v. Sec.

of Health & Human Services, 819 F.2d 1, 3 (1st Cir. 1987).

       Plaintiff has the burden of proving that Castrodad became disabled within the meaning

of the Social Security Act, 42 U.S.C. §§ 301-1307. See Bowen v. Yuckert, 482 U.S. 137, 146 (1987);

Rodríguez–González v. Astrue, 854 F. Supp.2d 176, 179 (D.P.R. 2012). A finding of disability

requires that plaintiff be unable to perform any substantial gainful activity or work because of a

medical condition which has lasted or which can be expected to last for a continuous period of

at least twelve months. See 42 U.S.C. § 416(i)(1). In general terms, evidence of a physical or mental

impairment or a combination of both is insufficient for the Commissioner to award benefits.

There must be a causal relationship between such impairment or impairments and plaintiff’s

inability to perform substantial gainful activity. See McDonald v. Sec. of Health & Human Servs.,

795 F.2d 1118, 1120 (1st Cir. 1986); Quintana v. Commissioner of Social Security, 294 F. Supp.2d 146,

148 (D.P.R. 2003).
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          In deciding whether a claimant is disabled under SSA standards, the Commissioner must

use a “five-step sequential evaluation process.” 20 C.F.R. § 404.1520(a)(4); See Yuckert, 482 U.S.

at 140–42; Goodermote v. Sec. of Health and Human Services, 690 F.2d 5, 6–7 (1st Cir. 1982). 3 In the

instant case, the ALJ applied the aforementioned process, 4 first holding that Castrodad was an

SSA-insured individual who had not engaged in any substantial gainful activity during the

relevant period. Second, he concluded that Castrodad “was significantly limited in his ability to

carry out a full range of basic work activities by the following severe combination of

impairments: s/p multiple cortical and subcortical cerebral infarcts; mild expressive aphasia;

hypertension; hyperlipidemia; and left ventricular hypertrophy.” Tr. at 23.

          Third, the ALJ held that “even in combination, the beneficiary’s impairments did not meet

or medically equal . . . the severity of one of the listed impairments” in the pertinent regulations.


3
    Specifically, the five-step sequential evaluation process entails the following, 20 C.F.R. § 404.1520(a)(4):

           (i) At the first step, we consider your work activity, if any. If you are doing substantial gainful
           activity, we will find that you are not disabled . . . .
           (ii) At the second step, we consider the medical severity of your impairment(s). If you do not have
           a severe medically determinable physical or mental impairment that meets the duration
           requirement in § 404.1509, or a combination of impairments that is severe and meets the duration
           requirement, we will find that you are not disabled . . . .
           (iii) At the third step, we also consider the medical severity of your impairment(s). If you have an
           impairment(s) that meets or equals one of our listings in appendix 1 of this subpart and meets the
           duration requirement, we will find that you are disabled . . . .
           (iv) At the fourth step, we consider our assessment of your residual functional capacity and your
           past relevant work. If you can still do your past relevant work, we will find that you are not disabled
           ....
           (v) At the fifth and last step, we consider our assessment of your residual functional capacity and
           your age, education, and work experience to see if you can make an adjustment to other work. If
           you can make an adjustment to other work, we will find that you are not disabled. If you cannot
           make an adjustment to other work, we will find that you are disabled . . . .
4
    See Tr. at 21-32.
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Id. at 25 (citing 20 C.F.R. Part 404, Subpart P, Appendix 1; 20 C.F.R. 404.1525; 20 C.F.R. 404.1526).

Consequently, the ALJ proceeded to assess Castrodad’s RFC, as required under the fourth step

of the sequential evaluation process. See 20 C.F.R. § 404.1520(a)(4)(iv).

       The RFC is an “assessment of the claimant’s remaining capabilities to perform physical

and mental activities after considering the full restrictions resulting from the individual’s

impairment.” Soc. Sec. Disab. Claims Handbook § 2:29 (May 2018 Update). As required under

applicable regulations, “[i]f the claimant has more than one impairment, all of the medically

determinable impairments, including medically determinable impairments that are not ‘severe,’

will be evaluated.” Id. at n.1 Moreover, “[t]he determination of residual functional capacity is an

assessment based on all of the relevant medical and other evidence.” Id.; see 20 C.F.R. § 404.1512.

And while the ALJ shall consider medical sources in assessing the RFC and whether a claimant

is disabled to work, “the final responsibility for deciding these issues is reserved to the

Commissioner.” 20 C.F.R. § 404.1527(d)(2).

       In assessing a claimant’s RFC, an ALJ may not “substitute[ ] his own judgment for

uncontroverted medical opinion.” Rosado v. Sec. of Health and Human Services, 807 F.2d 292, 293–

94 (1st Cir. 1986). Nonetheless, it is the province of Secretary of Health and Human Services in

social security disability proceedings to resolve conflicts in medical evidence. Rodríguez-Pagán,

819 F.2d at 4; Barrientos v. Sec. of Health and Human Services, 820 F.2d 1, 2-3 (1st Cir. 1987).

Accordingly, when, as in the case at hand, the ALJ is faced with voluminous medical evidence
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that entails diverse opinions by treating and consultive physicians, the ALJ is required to

determine credibility, bestow degrees of evidentiary weight, draw inferences from the record,

and reach informed conclusions in light of the record as a whole to reach a RFC determination.

See Ortíz v. Sec. of Health & Human Services, 955 F.2d 765, 769 (1st Cir. 1991); Evangelista v. Sec. of

Health & Human Servs., 826 F.2d 136, 141 (1st Cir. 1987); Rodríguez-Pagán, 819 F.2d at 2-3. In that

respect, applicable regulations and case law provide the criteria that ALJs shall use to evaluate

and award evidentiary weight to diverse or conflicting medical data when determining a

claimant’s RFC. See 20 C.F.R. § 404.1527; see also, e.g., Olmeda v. Astrue, 16 F. Supp. 3d 23, 30-31

(D.P.R. 2013); Rodríguez-González v. Astrue, 854 F. Supp.2d 176, 184-185 (D.P.R. 2012); Mercado v.

Commissioner of Social Security, 767 F. Supp.2d 278, 285 (D.P.R. 2010).

       In the instant case, the ALJ examined extensive medical evidence in assessing Castrodad’s

RFC, including records by: (i) treating neurologist Teresa Castro (“Dr. Castro”), with whom

Castrodad underwent treatment throughout the relevant period after his stroke in August 2010;

(ii) Dr. José Padilla (“Dr. Padilla”), cardiologist and internist who treated Castrodad during the

relevant period; (iii) Dr. Glenn Garayalde (“Dr. Garayalde”), a consultative neurologist who

issued a report on Castrodad’s state in April 2011; (iv) Dr. Juan Batista (“Dr. Batista”) and Dr.

Carlos Vázquez (“Dr. Vázquez”), consultative psychiatrists who performed psychiatric

evaluations of Castrodad in February and March 2011, respectively; (v) Dr. Florentino Figueroa

(“Dr. Figueroa”), consultative internist who performed an evaluation of Castrodad in April 2011;
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and (vi) records from Hospital Metropolitano, where Castrodad was admitted and treated for

his stroke in August 2010, and Hospital HIMA San Pablo, where he died of sepsis, secondary to

pneumonia, in January 2016. ECF No. 24 at 3-9; Tr. at 23-30, 874-1215. The ALJ concluded that

based on his assessment of Castrodad’s RFC, he was capable of performing “light work with no

fast paced demands,” 5 given the limitations resulting from his conditions. 6 ECF No. 24 at 12; Tr.

25-26. The ALJ then determined, based on Castrodad’s RFC and the testimonies of plaintiff and

a vocational expert, that Castrodad “was capable of performing his past relevant work as a

claims supervisor,” Tr. at 30, as well as other work sufficiently available nationally and in Puerto

Rico, for which he was not disabled under SSA standards. Id. at 30-32.

          In her objection to the R& R, plaintiff contends that the ALJ’s RFC analysis is “not

supported by the medical evidence as a whole,” because the ALJ “repeatedly substituted sound

medical opinions for his own interpretation of the medical evidence and raw medical data.” ECF




5
  As defined in pertinent regulations, “light work involves lifting no more than 20 pounds at a time with frequent
lifting or carrying of objects weighing up to 10 pounds. Even though the weight lifted may be very little, a job is in
this category when it requires a good deal of walking or standing, or when it involves sitting most of the time with
some pushing and pulling of arm or leg controls.” 29 C.F.R. § 404.1567.

6
    As held by the ALJ, Tr. at 25-26, during the relevant period, Castrodad

          had the [RFC] to lift, carry, push, pull up to 20 pounds occasionally and 10 pounds frequently; sit
          for a total of up to six hours a day; and stand and/or walk for a total of six hours a day. He was not
          able to climb ladders, ropes, or scaffolds, but was able to occasionally climb ramps and stairs. He
          was able to occasionally balance a stoop, but never crouch, kneel, or crawl. In a work setting, the
          beneficiary would have needed to avoid all exposure to wetness . . . hazards . . . [and] concentrated
          exposure to extreme heat. He could not have done any driving of vehicular equipment. He was not
          able to do fast pace production work.
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No. 25 at 4. Plaintiff also asserts that the ALJ did not take into consideration Castrodad’s speech

impediment. Id. In the R&R, the Magistrate Judge held that “the ALJ’s analysis of the medical

record is plagued with assumptions of what happened during the time period, and the ALJ

questions the knowledge [that] each treating source had at the time regarding Castrodad’s

conditions.” ECF No. 24 at 16. Plaintiff’s and the Magistrate Judge’s assertions in that respect

gave the Court pause as to the correctness of the ALJ’s factual and legal conclusions regarding

Castrodad’s conditions and his RFC. Nonetheless, after a thorough review of the AJL’s decision

and pertinent evidence in the transcript, 7 the Court wholly agrees with the Magistrate Judge’s

conclusion that “excluding these assumptions integrated by the ALJ in his opinion, the thorough

discussion of the evidence at Tr. 27-30 is sufficient to give the court notice of the evidence [the

ALJ] considered and serves as ‘good reasons’ for the weight the ALJ gave each treating source.”

Id. at 17. As concisely stated by the Magistrate Judge,

          To be sure, a medical report by Dr. Castro, dated December 2010, shortly after the
          last stroke, reveals that Castrodad had problems performing work-related
          activities such as sitting, standing, walking, lifting, carrying, handling objects,
          hearing, and speaking, and limited ability to use his right (dominant) hand. As to
          his ability to speak, Colón reported in 2010 and testified in 2016 that the stroke
          affected Castrodad’s speech and he felt uncomfortable and anxious
          communicating with others because he could not concentrate and would forget
          words, that he needed help with his personal needs, and that he could go out and
          drive. Importantly, however, Dr. Castro’s 2011 record then shows improvement
          after receiving physical and speech therapy. He still had mild expressive aphasia,
          but felt better, was alert and oriented, and had full motor strength. Dr. Batista, a
          consultative psychiatrist that examined Castrodad in February 2011, also observed
          him walking at a normal rate without any motor deficit. His speech was audible,

7
    See Tr. at 19-33, 41-78, 874-1215.
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       coherent, and logical; he did not present psychomotor retardation; and his
       memory, attention, concentration, judgment, and introspection were adequate. On
       April 2011, Dr. Garayalde, consultative neurologist, found that Castrodad’s
       coordination, motor skills, ability to sit, walk, climb, and use his hands were
       normal, except for a limited ability to write. Castrodad also informed Dr.
       Garayalde in 2011 that he could drive and mow the lawn. He also showed some
       expressive aphasia and slow mentation. These findings strongly support the ALJ’s
       determination.

Id. at 17-18. In short, the ALJ’s decision that Castrodad’s RFC allowed him to engage in light

work during the relevant period is supported by substantial evidence on the record as a whole,

in compliance with applicable legal standards.

   2- The ALJ Applied Correct Standards in Adjudicating the Fifth Step of the
      Sequential Evaluation Process.

       As summarized above, in the final step of the sequential evaluation process, the

Commissioner considers the claimant’s RFC as well as his age, education, and work experience

to determine if he can make an adjustment to other work existing “in significant numbers in the

national economy (either in the region where [the claimant lives] or in several regions in the

country).” 20 C.F.R. 404.1560(c); see also 20 C.F.R. 404.1512(b)(3). In her objection to the

Magistrate Judge’s R&R, plaintiff avers that the Magistate Judge erred, “as the ALJ did before

him,” by not applying to his analysis under the fifth step of the sequential evaluation process

the First Circuit holding in Figueroa-Rodríguez v. Sec. of Health and Human Services, 845 F.2d 370,

372 (1 st Cir. 1998). ECF No. 25 at 3-4. In said case, the First Circuit held that just because “jobs

exist in significant numbers in the national economy for one fluent in English” does not mean
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that “they must similarly exist in significant numbers in Puerto Rico and elsewhere in the nation

for a person of similar age, education, and vocational background fluent in Spanish.” Figueroa-

Rodríguez, 845 F.2d at 372.

       However, the Court notes that at the hearing presided by the ALJ, he considered the

testimony of an impartial vocational expert, retained by the SSA, who is knowledgeable of the

Puerto Rico labor market. See ECF No. 24 at 11; Tr. at 58-66. Based on said testimony, the ALJ

concluded that during the period under consideration, considering Castrodad’s age, education,

work experience, and RFC, he was capable of performing both his prior relevant work as well

as other work that existed in significant numbers in Puerto Rico. Specifically, it was considered

he could perform as information clerk and order clerk. Tr. at 30-32, 57-66. Accordingly, the Court

holds that the ALJ applied proper standards in adjudicating the fifth step of the sequential

evaluation process, deciding properly that Castrodad was not disabled. See Arce Crespo v. Sec. of

Health and Human Services, 831 F.2d 1, 5-6 (1st Cir. 1987) (affirming the Commissioner’s decision

of not disabled based on a vocational expert’s testimony as to the existence of sufficient jobs in

the Puerto Rico economy that claimant was able to perform).

IV.    Conclusion

       After careful consideration of the law, the record, the parties’ pleadings and memoranda,

the R&R, and plaintiff’s objection to the same, the Court wholly ADOPTS the Magistrate Judge’s

findings and recommendations at ECF No. 24. Accordingly, the Commissioner’s decision in the
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instant case is hereby AFFIRMED, and the instant complaint, ECF No. 1, is DISMISSED WITH

PREJUDICE.

      SO ORDERED.

      At San Juan, Puerto Rico, this 9th day of October 2018.

                                               S/AIDA M. DELGADO-COLÓN
                                               United States District Judge
